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UNITED sTATEs DISTRICT CoURT l __
WESTERN I)ISTRICT 0F TENNEssEE 11:) fit § 3 P€€ t;.: 1 ’;E
Western Division

   

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UNITED STATES OF AMERICA

-v- Case No. 2:04cr20044-B

.IIMMY W. HART

 

ORDER SETT|NG
COND|T|ONS OF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:

(l) The defendant shall not commit any offense in violation of federal, state or local law while on release in this
CHSE.
(2) The defendant shall immediately advise the court, Pret:rial Services Offlce, Probation Office, defense counsel

and the U.S. Attorney in writing of any change in address and telephone number.

(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence
imposed as directed The defendant shall next appear as directed by the Court.

ADD|T|ONAL COND|T|ONS OF RELEASE

In order reasonably to assure the appearance of the defendant and the safety of other persons and the
community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

Secured Financial Conditions
0 Execute a bond in the amount of $1,000.00 or an agreement to forfeit upon failure to appear as required, and
post with the following amount of money to be deposited into the registry of the Court: W/l(l% CASH
DEPOSIT WITH THE CLERK OF COURT.

0 Other: Defendant shall abide by all conditions of supervised release previously imposed..

ADV|CE OF PENALT|ES AND SANCT|ONS

TO THE DEFENDANT:

YOU ARE ADV|SED OF THE FOLLOW|NG PENALT|ES AND SANCT|ONS:

Thls document entered on the docket sheet in compliance :\
Ao1ssA oresrseuing conditions efRe\ease Wllh Fiu|e 55 and/or 32](5) FF{CI» l

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A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a term of imprisonment, a fine, or both.

The commission of a F ederal offense while on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor This sentence shall be in addition to any other sentence.

Federal law makes it a crime punishable by up to ten years of imprisonment, and a SZS0,000 fine or both to
obstruct a criminal investigation It is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or
both to tamper with a witness, victim or informant; to retaliate or attempt to retaliate against a witness, victim or
informant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing

lf after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed If you are convicted of:

(l) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you
shall be fined not more than 5250,000 or imprisoned for not more than ten years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall
be fined not more than $250,000 or imprisoned not more than five years, or both;

(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor, you shall be fined not more than 5100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense In addition, a failure to appear may result in the forfeiture of any bond posted

ACKNOWLEDGMENT OF DEFENDANT

l acknowledge that lam the defendant in this case and thatI am aware of the conditions of release, I promise
to obey all conditions ofrelease, to appear as directed, and to surrender for service of any sentence imposed I am aware
of the penalties and sanctions set forth above.

 

 

y /
Wignature\of~]§efendant

JIMMY WILLIS HART
4548 PORTERSVILLE RD.
ATOKA, TN 38004
901-840-4356

AO iSQA Order Selling Condilions of Re|ease '2'

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DlRECTlONS TO THE UNlTED STATES MARSHAL

El The defendant is ORDERED released after processing
F The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
Judicial Officer that the defendant has posted bond and/or complied with all other conditions for release, The
defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

Date: April 15, 2005 /L/\'

v

 

 

f[U M. PHAM
UNITED STATES MAGISTRATE JUDGE

AO 199A Order Setting Cond`ll\ons 01 Release -3-

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 2:04-CR-20044 was distributed by faX, mail, or direct printing on
April 19, 2005 to the parties listed

 

Terrell L. Harris

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

PDA

FEDERAL PUBLIC DEFENDER
200 .lefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Honorable .l. Breen
US DISTRICT COURT

